










	




NUMBER 13-07-00339-CR
		


COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


                                                                                                                      

	

NORMA JEAN DORNAK,							 Appellant,


v.



THE STATE OF TEXAS,							  Appellee.

                                                                                                                                      


On appeal from the 24th District Court


of Victoria County, Texas.


                                                                                                                      


MEMORANDUM OPINION



Before Justices Rodriguez, Garza, and Vela


Memorandum Opinion by Justice Garza



	Appellant, Norma Jean Dornak, was convicted of assault of a public servant, a third-degree felony.  See Tex. Penal Code Ann. § 22.01(b)(1) (Vernon 2003).  Dornak's
sentence of two years' imprisonment was suspended and she was placed on community
supervision for five years.  Dornak now appeals, contending that (1) the trial court erred in
not including a question in the jury charge on lack of capacity, and (2) the trial court made
improper comments on the weight of the evidence.  We affirm.

I. Background

	Dornak was indicted on July 8, 2006 for the offense of arson.  See id. § 28.02
(Vernon Supp. 2007).  According to the record, Dornak was incarcerated in the Victoria
County jail for that offense at the time of the events which form the basis of this appeal. 
According to an affidavit executed by Anna Escalona, a nurse for the Victoria County
Sheriff's Office, at approximately 2:00 a.m. on August 22, 2006, Dornak began hitting and
kicking the door and walls of her "Medical Detox" cell at the Victoria County jail.  Dornak
demanded that Escalona and her colleague, Detention Officer Shawn Henderson, open
the cell door.  Because Dornak would not cease hitting and kicking the cell door,
Henderson called Sergeant Donna Frontz for assistance.  After Dornak had calmed down,
Sergeant Frontz opened the tray slot to Dornak's cell and attempted to talk to Dornak. 
Because Dornak would not respond, Sergeant Frontz opened the cell door to check on her. 
At that point, Dornak, who had been sitting behind the door where she could not be seen,
put her foot out to stop the cell door from closing.  Sergeant Frontz tried to push Dornak
away from the door, but Dornak came at Sergeant Frontz, started to scratch at her arms,
and attempted to bite her.  Dornak was eventually restrained and medical assistance was
rendered to Sergeant Frontz.  On September 28, 2006, a Victoria County grand jury
indicted Dornak on a single count of assault of a public servant.  See id. § 22.01(b).

	On October 24, 2006, Dornak filed a "Motion for Expert Psychological Assistance"
noting that Dornak has an "extensive history of mental or emotional disorders" and
requesting that the trial court authorize the retention of Jack Greeson, Ph.D., to assist in
her defense.  On December 13, 2006, Dornak filed a "Motion for Competency Evaluation"
noting that Dr. Greeson did not believe that Dornak was presently competent to assist in
her defense and asking the trial court to appoint a disinterested expert to examine Dornak. 
See Tex. Code Crim. Proc. Ann. art. 46B (Vernon Supp. 2007).  The trial court ordered
on December 18, 2006 that Rahn K. Bailey, M.D., perform an examination of Dornak to
determine her competency to stand trial.  Basing its decision on Dr. Bailey's report and
Dornak's waiver of a jury finding as to competence, the trial court on February 6, 2007
rendered an order finding Dornak competent to stand trial.

	A trial on the merits was conducted before a jury on April 24 and 25, 2007.  The jury
found Dornak guilty and assessed a punishment of two years' imprisonment.  The
sentence was suspended and Dornak was placed on community supervision for five years. 
This appeal ensued.

II. Discussion

A.	Charge Question on Lack of Capacity

	By her first issue, Dornak contends that the trial court erred in not including in the
jury charge a question as to Dornak's capacity.  At trial, Dornak's counsel moved for a
directed verdict, referring to Dornak's alleged lack of capacity and contending that the State
had failed to prove that Dornak possessed the requisite mental state to be convicted of the
offense.  See Tex. Penal Code Ann. § 22.01(a)(1) (defining assault as "intentionally,
knowingly, or recklessly caus[ing] bodily injury to another").  The State countered that the
lack of capacity argument was an insanity defense and was barred due to lack of written
notice.  See Tex. Code Crim. Proc. Ann. arts. 46C.051(a) ("A defendant planning to offer
evidence of the insanity defense must file with the court a notice of the defendant's
intention to offer that evidence."), 46C.052 (Vernon 2006) ("Unless notice is timely filed
under Article 46C.051, evidence on the insanity defense is not admissible unless the court
finds that good cause exists for failure to give notice.").  The trial court agreed with the
State, finding that Dornak's attempt to raise the question of capacity was either (1) an
insanity defense barred for lack of notice, or (2) a diminished capacity defense not
recognized by Texas law.

	In support of her argument, Dornak cites a single case--Johnson v. State, 673
S.W.2d 190, 194 (Tex. Crim. App. 1984)--for the proposition that "[i]t is incumbent on the
State to prove every element of the offense beyond a reasonable doubt."  However,
Dornak does not direct us to any authority indicating that this requirement extinguishes the
necessity of her compliance with the mandatory notice provisions in article 46C of the
Texas Code of Criminal Procedure.  See Tex. Code Crim. Proc. Ann. arts. 46C.051(a),
46C.052.  We note also that, other than the insanity defense for which notice is required
under the stated rules, Texas recognizes no "diminished capacity" defense to defeat the
element of mens rea at the guilt-innocence phase of trial.  Jackson v. State, 115 S.W.3d
326, 328 (Tex. Crim. App. 2003); see Thomas v. State, 886 S.W.2d 388, 391 (Tex.
App.-Houston [1st Dist.] 1994, pet. ref'd) ("We do not believe . . . that absent a plea of
insanity or evidence raising that defense, a proper way to negate intent is to show that a
defendant does not have the concurrent mental capability to know that his conduct was
wrong.").

	Because Dornak failed to comply with the notice provisions in article 46C of the
Texas Code of Criminal Procedure, the trial court did not err in declining to include in the
jury charge a question as to Dornak's capacity.  See Tex. Code Crim. Proc. Ann. arts.
46C.051(a), 46C.052.  Accordingly, Dornak's first issue is overruled.

B.	Trial Court's Admonition

	By her second issue, Dornak contends that the trial court made certain admonitions
to her at trial which were improper comments on the weight of the evidence.  A trial court
improperly comments on the weight of the evidence if it:  (1) makes a statement that
implies approval of the State's argument; (2) indicates disbelief in the defense's position;
or (3) diminishes the credibility of the defense's approach to the case.  See Simon v. State,
203 S.W.3d 581, 590 (Tex. App.-Houston [14th Dist.] 2006, no pet.); Hoang v. State, 997
S.W.2d 678, 681 (Tex. App.-Texarkana 1999, no pet.); see also Tex. Code Crim. Proc.
Ann. art. 38.05 (Vernon Supp. 2007) ("[T]he judge shall not . . . at any stage of the
proceeding previous to the return of the verdict, make any remark calculated to convey to
the jury his opinion of the case.").

	When Dornak's counsel called her to testify at trial, the trial court admonished
Dornak regarding her right against self-incrimination and her right to remain silent.  The
following exchange then occurred, in the presence of the jury:

		

THE COURT:	Ms. Dornak, you have a Fifth Amendment right not to
testify in a criminal proceeding against you.  Do you
understand that?

		

THE DEFENDANT:	Yes, sir.


		THE COURT:	If you waive your Fifth Amendment right and begin to
testify in response to questions from your attorney, you
may not at any time refuse to answer any question that
the State poses to you.  Do you understand that?


		THE DEFENDANT:	Yes, sir.


		THE COURT:	And in Texas we have what is called an open cross
examination, which means the State can ask you about
any events that you've been involved in that may cast
a bad light on you and the things that have happened. 
Do you understand that?


		THE DEFENDANT:	Yes, sir.


		THE COURT:	And knowing and understanding that once you waive
this right and take the stand and begin to testify that you
can no longer assert your right not to answer, and that
it could not be or may not be in your best interest to do
that, do you still want to go forward and testify here
today?


		THE DEFENDANT:	I want the truth to be told.


		THE COURT:	Okay.  That's not what I asked you.  Do you understand
that it is risky for you to testify in your own behalf?


		THE DEFENDANT:	Yes, sir, I do.


		THE COURT:	And do you understand that I think it's not a good idea
for you to do that?


		THE DEFENDANT:	That's your opinion.  My opinion is these people don't
know me and they need to know me.


		THE COURT:	Okay.  You understand that I'm telling you I don't think
it's a good idea?


		THE DEFENDANT:	Yes, sir, I do.


		THE COURT:	Okay.  And your attorney also has admonished you
against testifying, hasn't he?


		THE DEFENDANT:	I don't . . .


		THE COURT:	He's told you that he doesn't think it's a good idea for
you to get up here and testify, hasn't he?


		THE DEFENDANT:	Yes, he has.


		THE COURT:	And in spite of the fact that your attorney has warned
you against it and that I'm warning you against it, do
you still want to go forward and testify in this trial?


		THE DEFENDANT:	Based on the facts that are being held back, yes, sir, I
do.


	Dornak's trial counsel did not object to the trial court's statements at trial.  The
general rule is that counsel must object to the trial court's comments during trial in order
to preserve error.  See Tex. R. App. P. 33.1(a); Blue v. State, 41 S.W.3d 129, 131 (Tex.
Crim. App. 2000).  However, we are authorized to take notice of fundamental errors
affecting substantial rights although they were not brought to the attention of the trial court. 
See Tex. R. Evid. 103(d); Blue, 41 S.W.3d at 131.  A substantial right is affected when an
error had a substantial and injurious effect or influence in determining the jury's verdict. 
King v. State, 953 S.W.2d 266, 271 (Tex. Crim. App. 1997); Simon, 203 S.W.3d at 593. 
Substantial rights are not affected by the erroneous admission of evidence "if the appellate
court, after examining the record as a whole, has fair assurance that the error did not
influence the jury, or had but a slight effect."  Motilla v. State, 78 S.W.3d 352, 355 (Tex.
Crim. App. 2002); Simon, 203 S.W.3d at 593.

	Dornak contends that the trial court's comments "had the irreversible effect of
poisoning [her] testimony before the jury ever heard a word come out of her mouth . . . ." 
The State argues that while the trial court's comments were "unfortunate," Dornak's
subsequent testimony was so "incredible" that it "completely undermin[ed] any credibility
she may have enjoyed without the judge's comments."  In support of its contention, the
State points to the following testimony offered by Dornak:

		Q.	[State's Attorney]  Now, on August 23rd and the 22nd, just the day
before it, you were in this cell, correct?


		A.	[Dornak]  Yes, sir.


Q.	Okay, now, why were you banging on the door so loud?


A.	Because if - the only thing I remember ever saying to them, I don't
know if I was banging on the door, but I know that I kept hollering out
and telling the nurses and them that I was falsely arrested and I don't
belong in here, that these are bogus charges and that y'all can't keep
me locked up in a cell and not - with never . . . I was never read my
rights, I was never given my right to a phone call.  And for the first two
months that I was in jail I was not given my right to an attorney until
after I demanded it three times that I have a right to an attorney and
that my rights are being violated.


Q.	Well, if you were yelling all those things about being falsely held and
not being allowed to call your attorney and things like that as you're
saying, then you must have known you were in a jail, right?


A.	I knew that they had me locked up.


Q.	Okay.


A.	But what I saw them - what I saw them do during that time when I
started going down is I saw them hook a crane to my cell and I saw
my cell moved over a bunch of airplanes and loaded onto an airplane
by Kyle Janak and Lieutenant Copeland [two local law enforcement
officers] and I was dropped off in the ocean because they said that I
was going to cause too many problems because they messed up. 
And so - and there was some guys out there that had saved - that
did rescue out there and that's what I saw.  And I actually spoke to -
Jesus Christ came to me and talked to me about it and told me not to
worry about it, that I would be all right.


	Given the outlandish nature of Dornak's testimony, we conclude with fair assurance
that any error committed by the trial court in admonishing Dornak not to testify had but a
slight influential effect on the jury.  Any error, therefore, was not fundamental.  See Tex.
R. Evid. 103(d); Motilla, 78 S.W.3d at 355; Simon, 203 S.W.3d at 593.  As such, because
Dornak's counsel did not object to the comments at trial, Dornak has not preserved the
issue for appeal.  See Tex. R. App. P. 33.1(a).  Accordingly, her second issue is overruled.

III. Conclusion

	We affirm the judgment of the trial court.



							                                            

							DORI CONTRERAS GARZA,

							Justice


Do not publish.

Tex. R. App. P. 47.2(b).

Memorandum Opinion delivered and

filed this the 26th day of June, 2008.


